Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 1 of 112 PageID 9287




                             PX6(7)

      (PX6-748 through PX6-856)

        Excerpts and Exhibits
     From Corporate Defendants’
         30(b)(6) Deposition
          (2/15/17-2/16/17)
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 2 of 112 PageID 9288




                                                                        PX6-748
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 3 of 112 PageID 9289




                                                                        PX6-749
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 4 of 112 PageID 9290




                                                                       PX6-750
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 5 of 112 PageID 9291




                                                                       PX6-751
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 6 of 112 PageID 9292




                                                                       PX6-752
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 7 of 112 PageID 9293




                                                                       PX6-753
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 8 of 112 PageID 9294




                                                                       PX6-754
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 9 of 112 PageID 9295




                                                                       PX6-755
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 10 of 112 PageID 9296




                                                                        PX6-756
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 11 of 112 PageID 9297




                                                                        PX6-757
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 12 of 112 PageID 9298




                                                                        PX6-758
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 13 of 112 PageID 9299




                                                                        PX6-759
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 14 of 112 PageID 9300




                                                                        PX6-760
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 15 of 112 PageID 9301




                                                                        PX6-761
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 16 of 112 PageID 9302




                                                                        PX6-762
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 17 of 112 PageID 9303




                                                                        PX6-763
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 18 of 112 PageID 9304




                                                                        PX6-764
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 19 of 112 PageID 9305




                                                                        PX6-765
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 20 of 112 PageID 9306




                                                                        PX6-766
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 21 of 112 PageID 9307




                                                                        PX6-767
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 22 of 112 PageID 9308




                                                                        PX6-768
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 23 of 112 PageID 9309




                                                                        PX6-769
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 24 of 112 PageID 9310




                                                                        PX6-770
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 25 of 112 PageID 9311




                                                                        PX6-771
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 26 of 112 PageID 9312




                                                                        PX6-772
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 27 of 112 PageID 9313




                                                                        PX6-773
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 28 of 112 PageID 9314




                                                                        PX6-774
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 29 of 112 PageID 9315




                                                                        PX6-775
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 30 of 112 PageID 9316




                                                                        PX6-776
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 31 of 112 PageID 9317




                                                                        PX6-777
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 32 of 112 PageID 9318




                                                                        PX6-778
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 33 of 112 PageID 9319




                                                                        PX6-779
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 34 of 112 PageID 9320




                                                                        PX6-780
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 35 of 112 PageID 9321




                                                                        PX6-781
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 36 of 112 PageID 9322




                                                                        PX6-782
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 37 of 112 PageID 9323




                                                                        PX6-783
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 38 of 112 PageID 9324




                                                                        PX6-784
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 39 of 112 PageID 9325




                                                                        PX6-785
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 40 of 112 PageID 9326




                                                                        PX6-786
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 41 of 112 PageID 9327




                                                                        PX6-787
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 42 of 112 PageID 9328




                                                                        PX6-788
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 43 of 112 PageID 9329




                                                                        PX6-789
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 44 of 112 PageID 9330




                                                                        PX6-790
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 45 of 112 PageID 9331




                                                                        PX6-791
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 46 of 112 PageID 9332




                                                                        PX6-792
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 47 of 112 PageID 9333




                                                                        PX6-793
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 48 of 112 PageID 9334




                                                                        PX6-794
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 49 of 112 PageID 9335




                                                                        PX6-795
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 50 of 112 PageID 9336




                                                                        PX6-796
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 51 of 112 PageID 9337




                                                                        PX6-797
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 52 of 112 PageID 9338




                                                                        PX6-798
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 53 of 112 PageID 9339




                                                                        PX6-799
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 54 of 112 PageID 9340




                                                                        PX6-800
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 55 of 112 PageID 9341




                                                                        PX6-801
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 56 of 112 PageID 9342




                                                                        PX6-802
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 57 of 112 PageID 9343




                                                                        PX6-803
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 58 of 112 PageID 9344




                                                                        PX6-804
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 59 of 112 PageID 9345




                                                                        PX6-805
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 60 of 112 PageID 9346




                                                                        PX6-806
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 61 of 112 PageID 9347




                                                                        PX6-807
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 62 of 112 PageID 9348




                                                                        PX6-808
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 63 of 112 PageID 9349




                                                                        PX6-809
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 64 of 112 PageID 9350




                                                                        PX6-810
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 65 of 112 PageID 9351




                                                                        PX6-811
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 66 of 112 PageID 9352




                                                                        PX6-812
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 67 of 112 PageID 9353




                                                                        PX6-813
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 68 of 112 PageID 9354




                                                                        PX6-814
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 69 of 112 PageID 9355




                                                                        PX6-815
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 70 of 112 PageID 9356




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                                                                         PX6-816
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 71 of 112 PageID 9357




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                                                                        PX6-817
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 72 of 112 PageID 9358




                                             Redacted
      Redacted            Redacted


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                                            Redacted
      Redacted            Redacted


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                                                                         PX6-818
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 73 of 112 PageID 9359




                                                                                       PX6-819
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 74 of 112 PageID 9360




                                                                                       PX6-820
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 75 of 112 PageID 9361




                                                                                       PX6-821
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 76 of 112 PageID 9362




                                                                                       PX6-822
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 77 of 112 PageID 9363




                                                                                       PX6-823
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 78 of 112 PageID 9364




                                                                                       PX6-824
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 79 of 112 PageID 9365




                                                                                       PX6-825
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 80 of 112 PageID 9366




                                                                                       PX6-826
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 81 of 112 PageID 9367




                                                                                       PX6-827
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 82 of 112 PageID 9368




                                                                                       PX6-828
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 83 of 112 PageID 9369




                                                                                       PX6-829
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 84 of 112 PageID 9370




                                                            PX6-830
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 85 of 112 PageID 9371




                                                                        PX6-831
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 86 of 112 PageID 9372




                                                                             PX6-832
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 87 of 112 PageID 9373




                                                                        PX6-833
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 88 of 112 PageID 9374




                                                                        PX6-834
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 89 of 112 PageID 9375




                                                                       PX6-835
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 90 of 112 PageID 9376




                                                                       PX6-836
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 91 of 112 PageID 9377




                                                                        PX6-837
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 92 of 112 PageID 9378




                                                                       PX6-838
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 93 of 112 PageID 9379




                                                                       PX6-839
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 94 of 112 PageID 9380




                                                                       PX6-840
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 95 of 112 PageID 9381




                                                                      PX6-841
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 96 of 112 PageID 9382




                                                                       PX6-842
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 97 of 112 PageID 9383




                                                                      PX6-843
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 98 of 112 PageID 9384




                                                                       PX6-844
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 99 of 112 PageID 9385




                                                                       PX6-845
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 100 of 112 PageID
                                     9386




                                                                      PX6-846
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 101 of 112 PageID
                                     9387




                                                                      PX6-847
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 102 of 112 PageID
                                     9388




                                                                      PX6-848
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 103 of 112 PageID
                                     9389




                                                                       PX6-849
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 104 of 112 PageID
                                     9390




                                                                      PX6-850
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 105 of 112 PageID
                                     9391




                                                                      PX6-851
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 106 of 112 PageID
                                     9392




                                                                      PX6-852
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 107 of 112 PageID
                                     9393




                                                                      PX6-853
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 108 of 112 PageID
                                     9394




                                                                      PX6-854
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 109 of 112 PageID
                                     9395



                        Redacted




                                                                    PX6-854a
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 110 of 112 PageID
                                     9396



                        Redacted




                                                                      PX6-854b
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 111 of 112 PageID
                                     9397




                                                                      PX6-855
Case 8:15-cv-02231-MSS-CPT Document 210-14 Filed 04/26/18 Page 112 of 112 PageID
                                     9398




                                                                      PX6-856
